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Alan Alexander Beck

Law Office of Alan Beck

2692 Harcourt Drive

San Diego, CA 92123

(619) 905-9105

Hawaii Bar No. 9145
Alan.alexander.beck@gmail.com

Stephen D. Stamboulieh
Stamboulieh Law, PLLC
P.O. Box 428

Olive Branch, MS 38654
(601) 852-3440
stephen@sdslaw.us

MS Bar No. 102784
*Admitted Pro Hac Vice
Attorneys for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID
KIKUKAWA

Plaintiffs,

Civil Action No. 19-578 (JMS-RT)
v.

Official Capacity as the Attorney
General of the State of Hawaii
JUDGE: Hon. J. Michael Seabright

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CLARE E. CONNORS, in her ) DECLARATION OF JON ABBOTT
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Defendant. )
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Exhibit "1"
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DECLARATION OF JON ABBOTT

COMES NOW, Jon Abbott, and states as follows:

1. I am an adult male resident of the State of Hawaii and reside in Honolulu
County and am competent to provide this declaration. If called as a witness in this
matter, I would provide the following testimony and I make this declaration based
on personal knowledge, except where otherwise stated.

2. I am employed as an electrician.

3. Since the beginning of the pandemic, I have been unable to renew my permit
to acquire long guns, which expired in June of 2020.

4. During the beginning of the pandemic, the Honolulu Police Department
moved to an online appointment system.

5. Applicants had to make an appointment online prior to arriving at the police
department to process their permits to acquire and registration of firearms.

6. I was unable to get an appointment online approved since all appointments
were always taken.

7. HPD’s system was only able to make appointments ninety days out from the
day someone attempted to make an appointment.

8. Recently, HPD started a new walk-in system.

9. When the walk-in registration was opened on Aug 10, 2021, I was hopeful I

would be able to finally purchase the firearms I had been wanting for over a year.

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10.My hopes were soon dashed.

11.I found that the system HPD put in place is not a true walk-in registration, as
it had been before the pandemic, but an even more cumbersome and restrictive
system.

12.At the time, HPD would only process the first 50 people who showed up
each day.

13.0On August 19, 2021 at about 12:30 PM, I stopped by HPD to renew my
permit to acquire a long gun.

14.When I went into the records office, I was advised by the clerk that if I
didn’t have a number, I would have to come back the following morning before 7
AM and get a number, as HPD was only taking the first 50 people each day.

15.When I pointed out there was no one in the office nor anyone outside
waiting in line, he advised that there soon would be.

16.As I left, he also reminded me that the following day was Statehood Day -
meaning the HPD would be closed.

17.So once again I was unable to renew my permit to acquire long guns and
would have to wait another 4 days.

18.0n Monday, August 23, 2021, I returned to HPD at 6:20 AM. There was

already a line of about 15 people waiting. At 7 AM, two HPD officers came out

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and proceeded to split the group into those who needed to complete the registration
of firearms in person, or obtain a permit to acquire.

19.I was in the line to obtain a permit to acquire and was then given a number. I
was told I would have to wait outside the office until my number was called.

20.This was at approximately 7:20 AM. The office did not open until 8AM. I
was advised that if I was not present when my number was called, I would have to
return the following morning and restart the entire process.

21.Taking off work to come down and obtain my permit as well as to register a
firearm cost me money.

22.Like many tradespeople, I am not on a salary and only get paid when I
perform my work.

23.Daily, I can make between $400-$1,000. Having to come down and waste
effectively a billable day easily cost me at a minimum $400 on the low end.

24.Having to come back in two weeks and stand in line to retrieve the permit to
acquire will cost me another $400 minimum.

25.And then bringing the firearm down to register it will cost me another $400
minimum. This is assuming I can find jobs to fill in the remainder of each day.
This is unlikely as the electrical projects I work on usually require a full day. Most

likely I will have to take the entire day off which costs me about $700. In total,

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having to go through this three-day process will cost me between $1,200 and
$2,100.

26. HPD has just announced it will be reducing the number of people they will
process a day at their firearms department down to 40 starting September 7, 2021.

27.As the above example demonstrates, this registration system significantly
hurts hourly workers who are usually unable to afford taking unpaid time off from
work to exercise their rights.

28.On Tuesday Sept 7, 2021, I returned to HPD to pick up my Permit to
Acquire Long guns. IJ arrived at 6:15 AM and got in line on the sidewalk outside of
HPD headquarters. There were 24 people already ahead of me. At 7:05 AM
several officers came out and instructed me to go to the office where I applied for
the Permit to Acquire and said it would open at 8AM. This is the sign where the

line starts:

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29. When the office opened, I found that the actual line to pick up the Permit to
Acquire was in front of the Records Office. This was really confusing as there
was a second sign on the door that said "permit pickup on the other side of the
records office" but no indication whether this referred to permits to acquire a long
gun or for something non-firearm related.

30.To add to the confusion, there was no indication on the sidewalk sign to the
Records Office that Permit Pickup was located there and there was only a tiny
little signin the door window. This was easily missed since the door was
constantly being opened and closed by people going into and out of the office.

The photos of the signs are on the next two pages.

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cou REPORTS
~~ SERED OFFENDERS

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33.I have had a permit to acquire every year since 2011. Why is it necessary for
me to come down a second time to pick up the permit when HPD can easily mail it
to the address on the Permit itself? There were at least a dozen people who were
also there to simply pick up their Permit to Acquire. This confused mess led me to
cancelling my day's work, costing me $500 on September 7, 2021 alone. Given all
the lawful citizens who were also stuck there for over 2 hours, I would estimate the

cost to them in the thousands of dollars in missed work.

34.In this next picture, these are firearms in cases that are literally just on the

ground while people wait to register their firearms in person:

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36. This Court’s opinion makes it to where people don’t have to wait in line
with cased firearms sitting on the ground, wasting their time to register their
firearms in person. Because we cannot carry firearms here, we are all sitting ducks
to be robbed if a criminal decides to steal weapons that are literally sitting on the
ground.

37.After the Court issued its opinion, I was very happy that I would be able to
save money by not having to go in person to HPD to register a firearm I purchased,
and that permits to acquire handguns would not be invalidated if I didn’t have time
to use it within ten days.

38.As the above pictures and my own personal stories demonstrate, Hawaii’s
system of in person registration and permits to acquire is in shambles, and this
Court’s opinion goes a long way for the average Hawaiian in restoring our rights
under the Constitution. However, if the Court stays its relief until the State can
appeal it, then nothing will change with respect to the current system implemented
by the State and counties, and I will still be forced to lose considerable money

every time I want to exercise my rights under the Constitution of the United States.

FURTHER, DECLARANT SAYETH NAUGHT.

at going is true and correct.

MAE

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I certify under penalty of perj

Executed on September 13, 202

Jon Abbott
